                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF VIRGINIA
                                          Harrisonburg Division


    JOHN DOE 4, by and through his next friend,
    NELSON LOPEZ, on behalf of himself and all
    persons similarly situated,                        Civil No. 5:17-cv-00097-EKD/JCH
                                                       Judge Elizabeth K. Dillon
                     Plaintiffs,

    v.

    SHENANDOAH VALLEY JUVENILE
    CENTER COMMISSION,

                     Defendant.


          MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS' MOTION TO COMPEL
         DISCOVERY AND FOR MODIFICATION OF THE AMENDED SCHEDULING ORDER

            Plaintiffs John Doe 4, et al., by their attorneys, submit this Memorandum of Law in

   support of their Motion to Compel Discovery and for Modification of the Amended Scheduling

   Order.

                         INTRODUCTION AND STATEMENT OF THE ISSUES

            In accordance with relevant provisions of the Amended Scheduling Order entered by the

   Court in this action on August 22, 2018, Defendant Shenandoah Valley Juvenile Center

   Commission ("SVJCC"), by counsel, served Plaintiffs with Defendant's Disclosure of Expert

   Testimony on September 28,2018.1

            In that submission, SVJCC designated a single expert witness pursuant to Fed. R. Civ.

   P. 26(a)(2)(B) -- Anne Nelsen -- and attached a copy of Ms. Nelson's Report containing her

   opinions, her CV, and other items contemplated for disclosure by the Rule. SVJCC, pursuant to



            See true and correct copy attached hereto as Exhibit 1.



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   Rule 26(a)(2)(C), also identified six additional individuals employed by or affiliated with the

      Shenandoah Valley Juvenile Center ("SVJC") as persons whose testimony at trial might include

   expert opinions. Until that time, these individuals, including current and former mental health

   clinicians whom Plaintiffs had already previously deposed, had only been categorized by

   Defendant as persons with knowledge of facts relevant to the parties respective claims and

   defenses in the case.

             On October 5, 2018, in communications exchanged following the completion of

   Defendant's deposition of Plaintiffs' expert witness Andrea Weisman, Plaintiffs' counsel

   Theodore Howard advised Defendant's counsel Harold Johnson of Plaintiffs' desire to take the

   depositions of Anne Nelsen and Timothy Kane, M.D., one of the individuals disclosed pursuant

   to Fed. R. Civ. P. 26(a)(2)(C) in Defendant's Expert Disclosure. See Exh. 1 hereto, at 1-4.

   Mr. Howard further advised Mr. Johnson that Plaintiffs would likely also wish to depose Joseph

   Gorin, Psy. D., and Gustavo Rife, Psy. D., two clinical psychologists affiliated with SVJC who

   were also designated by Defendant pursuant to Rule 26(a)(2)(C). Id. at 4-5, 10-11. Mr. Johnson

   represented that he would inquire and obtain and provide Plaintiffs' counsel with dates upon

   which Ms. Nelson and Dr. Kane would be available for deposition as promptly as he could. No

   objection to Plaintiffs' possible depositions of Dr. Gorin andlor Dr. Rife was expressed.

            On October 10, Mr. Johnson advised Plaintiffs' counsel that Ms. Nelsen was unavailable

   for deposition until October 29, and that her preferred date was October 30. The following day,

   he indicated that Dr. Kane's earliest availability would be November 2, and that "[t]he problem

   is that he's only got a three-hour window from 8am to 11am" on that date.?


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          See Email from H. Johnson to T. Howard and H. Lieberman, dated 1011 0118 (true and
  correct copy attached hereto as Exhibit 2); Email from H. Johnson to T. Howard, dated 10/11118
  (true and correct copy attached hereto as Exhibit 3).

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            By email correspondence on October 17,2018, Plaintiffs' counsel Hannah Lieberman

   advised Defendant's counsel that Plaintiffs were willing to depose Ms. Nelsen on October 30,

   her preferred date, and that Plaintiffs were agreeable to depose Dr. Kane "from 8 to 11am on

   November 2, with the understanding that, if the deposition is not completed within that time, we

   will schedule a later date and time for completion."   Ms. Lieberman also indicated, among other

   things, that Plaintiffs would like to depose the SVJC-affiliated clinical psychologists,   Dr. Gorin

   and Dr. Rife, and proposed that these depositions be conducted on October 31, with a half-day

   for each witness.'

            Later the same day, Mr. Johnson confirmed the October 30 date for Ms. Nelsen and the

   November 2 date for Dr. Kane, noting as to the latter that "[i]fyou need more than three hours to

   depose [him], we can try to find a time to complete the deposition.    However, I am not in a

   position to guarantee his availability."   Mr. Johnson also advised that Defendant "cannot agree to

   your request to take additional' expert' depositions of Evenor Aleman, Dr. Rife and/or Dr. Gorin

   at this late stage.?"

            On the following day, Ms. Lieberman corresponded with Mr. Johnson again, expressing

   Plaintiffs' disappointment with Defendant's position concerning the requested depositions of

   Mr. Aleman and Drs. Gorin and Rife, but offering, in the spirit of compromise, to forego a

   further deposition of Mr. Aleman and a deposition of Dr. Rife. In a response that evening,

  Mr. Johnson reiterated Defendant's refusal to agree to Plaintiffs' request to depose Dr. Gorin.


  3       Email from H. Lieberman to J. Botkins, et al, dated 10117118 (true and correct copy
  attached hereto as Exhibit 4). Ms. Lieberman also expressed Plaintiffs interest in deposing
  Evenor Aleman, a mental health clinician at SV JC whom Plaintiffs had previously deposed as a
  fact witness, in light of Defendant's designation ofMr. Aleman as an expert pursuant to Rule
  26(a)(2)C). See id.
  4       Email from H. Johnson to H. Lieberman, dated 10117/18        (true and correct copy attached
  hereto as Exhibit 5).

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   He also expressed Defendant's unwillingness to agree to any extension of the deadline for filing

   by Plaintiffs of motions to exclude expert witnesses -- October 22,2018       under the Court's

   Amended Scheduling Order (see ECF Dkt. No. 81 at 2) -- despite the fact that Defendant's

   experts were not made available to be deposed until after that deadline. 5

           As reflected by the attached correspondence, the parties have engaged in good-faith

   efforts to resolve the disputes that are the subject of Plaintiffs' instant Motion, as required by

   Rule 37(a)(I), Fed. R. Civ. P., but those efforts were unsuccessful.

                                                ARGUMENT

           Operating in the context of an extraordinarily compacted procedural schedule that was

   mutually agreed upon by the parties and approved by the Court in recognition of the significance

   of the issues presented and in light of the Court's inability, due to the heavy demands on its

   available time, to entertain Plaintiffs' Motion for Preliminary Injunction, the parties and their

   respective counsel have conducteddiscovery, up until this point, in a collegial, cooperative

   manner without any need to engage or involve the Court. Both sides, in words and actions, have

   manifested a clear understanding that flexibility with respect to the deadlines established by the

   Amended Scheduling Order would be required, and neither party has engaged -- heretofore -- in

   conduct designed to prejudice the interests of the other.

           Against this backdrop, Defendant's sudden determination to invoke hardball tactics in an

   effort to curtail discovery which may be critical to Plaintiffs' preparation for trial is unfair,

   unwarranted and, frankly, unbecoming. Although Dr. Kane and Dr. Gorin were included in

  Defendant's Initial Disclosure, served March 5, 2018, as SVJC medical consultants that "may



  5       Email from H. Lieberman to H. Johnson, dated 10118/18 (true and correct copy attached
  hereto as Exhibit 6); Email from H. Johnson to H. Lieberman, dated 10118/18 (true and correct
  copy attached as Exhibit 7).

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   have discoverable knowledge of Plaintiffs' medical evaluations, conditions and treatment" while

   detained at SVIC, Plaintiffs had no reason to believe that either of these individuals would be

   designated as experts who might be called upon in testimony at trial to offer opinions on a broad

   array of subject areas as se! forth in Defendant's       Disclosure of Expert Testimony until that

   submission was served on September 28,2018.

           As but one example of Plaintiffs' lack of knowledge in this regard, individuals employed

   by SVIC have uniformly testified at deposition that Dr. Kane, a psychiatrist who visits the

   facility approximately once every three weeks and sees detained class members concerning

   matters of medication administration,     does not have any role in providing therapy to any of the

   children residing at SVIC.6 However, according to the Defendant's Expert Disclosure:
                                       ";'


            Dr. Kane may offer ... opinions [including that] [t]he medical care, and
            specifically the mental health care, provided by syIC to class members is
            appropriate and complies with applicable standards for a juvenile detention center
            housing a population that is at risk for mental health and psychiatric disorders .
            . . . [and that] [tjhemental health care provided to residents at SVIC is trauma-
           informed ... [and that] [fJrom the standpoint of psychiatric care, the use ofroom
            confinement, personal restraint techniques and mechanical restraints, may be
           justified and necessary where a resident presents an immediate risk to himself, his
           peers or to staff.

   See Exh. 1 at 2-3.   Accordingly,   the unanticipated substance of Defendant's Expert Disclosure as

   regards both Dr. Kane and Dr. Gorin provides a clear indication as to why Plaintiffs might

   conclude that it is necessary, as a matter of conscientious trial preparation, to depose each of

   these witnesses, particularly where their designation as experts was made pursuant to

   Rule 26(a)(2)(C) and neither' of them generated      a written   report setting forth their opinions.




   6
           See, e.g. Transcript 'of Deposition of Kelsey R. Wong, dated Aug. 22,2018, at 198:22-
   199:8; Transcript of Deposition of Evenor Aleman, dated Sept. 5,2018, at 196:20-197:10;
   Deposition of Elizabeth Ropp, dated Sept. 26, 2018, at 97:8-16; Deposition ofP. Andrew
   Mayles, dated Oct. 4, 2018, at 131: 19-132-15 (relevant excerpts attached hereto as Exhibit 8).

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   Defendant has no good-faith basis to limit Plaintiffs' examination of Dr. Kane to three hours, to

   the extent Plaintiffs feel that more time is needed, much less to preclude Plaintiffs entirely from

   inquiring of Dr. Gorin to probe the substance of his intended opinion testimony before trial.

   I.      DEFENDANT'S ARBITRARY REFUSAL TO MAKE DR. GORIN AVAILABLE
           FOR DEPOSITION SHOULD BE OVERRULED
                                      ,   _


           In a conferenceamong    counsel immediately following the conclusion of Defendant's

   deposition of Plaintiffs' expert Andrea Weisman on October 5, 2018 -- within one week after

   Defendant's Expert Disclosure was provided -- Mr. Howard advised Mr. Johnson that Plaintiffs

   wished to depose Ms. Nelsen and Dr. Kane and that they would also likely want to depose Dr.

   Gorin and Dr. Rife. Mr. Johnson expressed no hint of objection in response to this advisory.

   Nor would any such objection have been anticipated since the parties, through accommodations

   extended on each side to the other throughout the discovery phase of this case, have made it clear

   to one another that strict adherence to the deadlines established by the Amended Scheduling

   Order was neither expected '_nor realistically practicable under the circumstances.
                                      _




          However, when Plaintiffs, by email coinmunication transmitted on October 17, sought to

   nail down a specific date on which Drs. Gorin and Rife could be deposed, Defendant suddenly

   invoked the deadline for completing expert designations as a bulwark against making the

   witnesses available for deposition, even though the dates provided by Defendant to Plaintiffs for

   Defendant's experts Ms. Nelsen and Dr. Kane -- October 30 for Ms. Nelsen and November 2 for

   Dr. Kane -- are also well beyond that October 15,2018     deadline set forth in the Amended

   Scheduling Order. Moreover, even after Plaintiffs scaled back the scope of their October 17

   request and limited it to a deposition of Dr. Gorin, Defendant has refused to budge.

          Despite Defendant's generalized assertions complaining of the lateness of Plaintiffs'

  request, it has not even remotely shown -- or really even attempted to show -- any genuine


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   prejudice or undue burden that would result from producing Dr. Gorin for a deposition per

   Plaintiffs'request.   See generallyJAK Productions, Inc. v. Robert Bayer, No. 2:15-cv-00361,

   2015 WL 2452986, at *10 (S.D. W. Va. May 22,2015)         ("To prevail on the grounds of

   burdensomeness ...     the objecting party must do more to carry its burden than made conclusory

   and unsubstantiated arguments." (citing numerous authorities)); see generally Consolidation

   Coal Co. v. Williams, 453 F.3d 609, 620-21 (4th Cir. 2006) (affirming grant of motion to compel

   where resisting party "failed to offer anything more than conclusory assertions regarding the

   potentially burdensome aspect of the discovery request"); Sonoco Productions Co. v. Guven,

   No.4: 12-cv-0070-BHH, 2014 WL 547633, at *5 (D.S.C. Oct. 28,2014) (party seeking to avoid

   discovery failed to make "the requisite evidentiary showing of undue burden"); Stoney Glen,

  LLC v. Southern Bank & Trust Co., No. 2:13cv8, 2013 WL 5514293, at *3 (E.D. Va. Oct. 2,

   2013) ("To prevail on grounds of burdensome ness ... the objecting party must do more to carry

   its burden than make conclusory and unsubstantiated arguments." (Citations omitted.)).

            Simply stated, Defendant's bare insistence that producing Dr. Gorin for a deposition that

  Plaintiffs have estimated is likely to require no more than half of one day will somehow hamper

  their capacity to effectively represent SVJCC's interests in preparing for trial is wholly

  unsupported and does not merit this Court's imprimatur. Defendant should be ordered to work

  with Plaintiffs and Dr. Gorin to find a mutually convenient date and time for his deposition.

  II.      DEFENDANT HAS NO LEGITIMATE BASIS UPON WHICH TO LIMIT
           PLAINTIFFS' DEPOSITION OF DR. KANE TO THREE HOURS

           Defendant has offered Plaintiffs the opportunity to depose Dr. Kane between the hours of

  8:00 a.m. and 11:00 a.m. on November 2,2018; however, to the extent that Plaintiffs' counsel

  concludes that additional time to complete the examination of Dr. Kane's putative expert




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   opinions is needed, Defendant's   counsel has advised that he is "not in a position to guarantee"

                               . Kane's patio See Exhs. 3, 5 hereto.
   any further availability on Dr.      ,




          Defendant's position in this regard is simply unacceptable. Defendant has designated Dr.

   Kane as an expert witness pursuant to Fed. R. Civ. P. 26(a)(2)(C).    There is no dispute that

   Plaintiffs made a timely request to depose Dr. Kane and they are entitled to conduct such

   deposition for up to seven (7) hours pursuant to Fed. R. Civ. P. 30(d)(1). While Plaintiffs may

   well conclude that the three hours within which they have agreed, without prejudice, to inquire

   of Dr. Kane on November 2 is sufficient for their purposes, to the extent more time is needed,

   Defendant is obligated to provide it. The Court should instruct Defendant accordingly.

   III.   MODIFICATION OF THE AMENDED SCHEDULING ORDER DEADLINE FOR
          FILING OF MOTIONS TO EXCLUDE EXPERTS IS WARRANTED

          Plaintiffs advised Defendant of their desire to depose Ms. Nelsen and Dr. Kane on

   October 5, 2018 -- a date well in advance of the October 22, 2018 deadline established by the

   Amended Scheduling Order for the submission of motions to exclude experts. See ECF Dkt. No.

   81 at 2. Putting aside for the moment Plaintiffs' request to depose Dr. Gorin, if Defendant had

   made Ms. Nelsen and Dr. Kane available for their depositions in a reasonably timely manner

   after Plaintiffs' notification, the depositions could have been conducted and completed within

   such time as would have allowed Plaintiffs to move to exclude the testimony of either or both of

  these witnesses within the October 22 deadline. Instead, the earliest date offered to Plaintiffs by

  Defendant for Ms. Nels,en's deposition was October 29, and the only date offered to Plaintiffs for

  Dr. Kane's deposition was November 2. Yet, Defendant insists that no extension on the deadline

  for filing motions to exclude should be permitted. See Exh. 7 hereto.

          Defendant's unprincipled position in this regard should be flatly rejected by this Court.

  Plaintiffs have pledged to file their Motion(s) to Exclude -- if any -- within seven days after their


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   depositions of Ms. Nelsen, Dr. Kane and Dr. Gorin (if permitted) are completed.    This proposal

   is fair and reasonable under the circumstances;   is in keeping with the temporal symmetry of the

   Amended Scheduling Order      U e., motions to exclude to be filed seven days after the completion
   of expert discovery), and will allow for the completion of full briefing in advance of the omnibus

   Motions Hearing and Pretrial Conference set for December 3, 2018, thereby resulting in minimal

   disruption of the procedural schedule overall. Accordingly, the modest modification of the

   Amended Scheduling Order requested by Plaintiffs should be granted.

                                             CONCLUSION

          For all of the foregoing reasons, Plaintiffs' Motion should be granted.

   DATED:         October 29,2018

                                         Respectfully submitted,

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                              BY~
                                 Theodore A. How;

                                 Attorneys for Plaintiffs




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                                 EXHIBIT 1




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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                     Harrisonburg Division


    JOHN DOE 4, by and through his next
    friend, NELSON LOPEZ, on behalf of
    himself and all persons similarly situated,
                                                          CIVIL ACTION
           Plaintiff,

   v.                                                     Case No.: 5:17-cv-00097-EKD

   SHENANDOAH VALLEY JUVENILE
   CENTER COMMISSION,                                     Honorable Elizabeth K. Dillon

           Defendant.


                    DEFENDANT'S DISCLOSURE OF EXPERT TESTIMONY

           Defendant    Shenandoah    Valley   Juvenile   Center   Commission    ("SVJC")    makes the

   following disclosures in accordance with Rule 26 of the Federal Rules of Civil Procedure and the

   Court's Amended Scheduling Order:

           A.      SVJC's Fed. R. Civ. P. 26(a)(2)(B) Disclosure

                   1.     Anne Nelsen
                          1644 Jamestown Drive
                          Salt Lake City, Utah 84121

           Ms. Nelsen's initial report setting forth her qualifications, listing the materials reviewed,

   and describing her opinions in this case is attached as Exhibit 1. Her report also includes a list of

   cases in which she has previously provided expert testimony and a statement regarding the

   hourly rate she is charging for her services in this case. A copy of Ms. Nelsen's curriculum vitae

   is attached as Exhibit 2.

           B.      SVJC's Fed. R. Civ. P. 26(a)(2)(C) Disclosures

                   1.     Dr. Timothy Kane, MD
                          907 Goose Creek Road, Suite 105



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                              Fishersville, Virginia   22939

             Dr. Kane is a licensed medical doctor and board certified psychiatrist.           His curriculum

    vitae is attached as Exhibit 3.

             SVJC anticipates that Dr. Kane will be called as a fact witness to testify regarding his

    provision    of psychiatric   care to class members      at SVJC. Dr. Kane's factual testimony likely

    would involve his application        of medical     expertise    and training in the treatment of class

    members.     Therefore, to the extent such Dr. Kane's factual testimony implicates his specialized

    knowledge in the field of psychiatry and calls for expert opinions, SVJC designates Dr. Kane as

    an expert pursuant to Rule 26(a)(2)(C)      of the Federal Rules of Civil Procedure.

             The subject    matter of Dr. Kane's       expected     testimony   will include the prOVISIOn   of

   medical      care and mental health services to class members at SVJC and his treatment of

    individual class members, including John Doe 4. Dr. Kane bases his opinions on his experience

   providing psychiatric      care to class members       at SVJC, his interaction with other staff and

   clinicians at SVJC, and his treatment of individual residents.           His testimony may also be based

   upon his experience working in psychiatric hospitals and correctional facilities throughout the

   Commonwealth of Virginia for 23 years.

             In summary, SVJC expects that Dr. Kane may offer the following opinions:

                     •       The medical care, and specifically the mental health care, provided
                             by SVJC to class members is appropriate and complies with
                             applicable standards for a juvenile detention center housing a
                             population that is at risk for mental health and psychiatric
                             disorders.  The clinicians on staff at SVJC are independently
                             licensed professional counselors, and they are qualified to provide
                             therapeutic counseling and care to the residents at SVJc. In
                             conjunction with those clinicians, Dr. Kane provides psychiatric
                             care to those residents who need it in the form of medication
                             management.     Typically, Dr. Kane follows up with residents at
                             SVJC every three weeks. He has never had to recommend more
                             frequent follow-ups or more intensive psychiatric care. Residents



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                     experiencing an acute psychiatric episode are hospitalized,     rather
                     than being treated at SVJC.

               •     The mental health care provided to residents at SVJC is trauma-
                     informed.    The clinicians at SVJC provide Dr. Kane with a
                     summary of each resident's history which includes reference to
                     traumatic events. Prior to each appointment, the clinicians provide
                     Dr. Kane with an update regarding each resident's current level of
                     functioning.  . As appropriate,   Dr. Kane questions residents
                     regarding symptoms of post-traumatic stress disorder or other
                     mental health issues related to trauma and prescribe medications
                     accordingly.

               •     From the standpoint of psychiatric care, the use of room
                     confinement,    personal     restraint techniques and mechanical
                     restraints, may be justified and necessary where a resident presents
                     an immediate risk to himself, his peers or to staff. Such restraints,
                     including the use of a restraint chair, are not unusual in psychiatric
                     hospitals or other facilities housing individuals with psychiatric or
                     psychological disorders. The restraint chair is generally accepted
                     as the safest means of restraint when a psychiatric intervention is
                     necessary.

               •     Dr. Kane is a mandatory reporter, meaning that he must report any
                     reported or suspected abuse of residents at SVJC to the relevant
                     authorities, such as the office of Child Protective Services within
                     the Department of Social Services. Throughout his time working
                     with residents at SVJC, Dr. Kane has never had to report an
                     incident or suspicion of abuse or maltreatment.

               •     Dr. Kane may also testify regarding his treatment and evaluation of
                     John Doe 4. His opinions in this regard are reflected in his
                     treatment notes, which have been produced by SVJC in discovery.
                     Dr. Kane's impression is that John Doe 4 seeks a lot of attention
                     from SVJC staff and seeks out treatment or counseling. John Doe
                     4 has been through multiple medication changes, and he has given
                     mixed messages regarding the efficacy of prescribed medications.
                     John Doe 4 has also reported symptoms that do not align with his
                     objective affect.

               •     To the extent that Plaintiffs are permitted to offer evidence
                     regarding John Doe 1, John Doe 2, and/or John Doe 3, as proffered
                     in the expert reports of Dr. Gregory Lewis and Dr. Andrea
                     Weisman, Dr. Kane may also testify regarding his treatment and
                     evaluation of those individuals.      His opinions regarding those
                     individuals are reflected in his treatment notes, which have been
                     produced by SVJC in discovery.



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                   2.     Dr. Joseph Gorin, Psy. D
                          2607 Connecticut Ave. NW
                          Washington, D.C. 20008

           Dr. Gorin is a licensed clinical psychologist.   His curriculum vitae is attached as Exhibit

    4.

           SVJC anticipates that Dr. Gorin may be called as a fact witness to testify regarding his

    psychological evaluation of John Doe 4 and his personal involvement in the care of other class

    members at SVJC. To the extent that Plaintiffs are permitted to offer evidence regarding John

    Doe 2, Dr. Gorin may also testify regarding his evaluation of John Doe 2. Dr. Gorin's factual

    testimony likely would involve his application of medical expertise and training in evaluating

    and formulating treatment recommendations for class members.          Therefore, to the extent Dr.

    Gorin's factual testimony implicates his specialized knowledge in the field of psychology and

    calls for expert opinions, SVJC designates Dr. Gorin as an expert pursuant to Rule 26(a)(2)(C) of

    the Federal Rules of Civil Procedure.

           The subject matter of Dr. Gorin's expected testimony will include the prOVISIOn of

   psychological evaluations and recommendations for mental health services to class members at

    SVJC and his psychological evaluation of individual class members, including John Doe 4. Dr.

   Gorin bases his opinions on his experience providing psychological evaluations to class members

   at SVJC, and his interaction with other staff and clinicians at SVJC. His testimony may also be

   based upon his experience working as a licensed clinical psychologist with immigrant

   populations in Virginia, Maryland, Washington, D.C., and other states.

           In summary, SVJC expects that Dr. Gorin may offer the following opinions:

                  •       The psychological evaluations and treatment recommendations
                          provided by Dr. Gorin to class members are appropriate and
                          comply with applicable standards for a juvenile detention center
                          housing a population that is at risk for mental health and



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                     psychological disorders. The clinicians on staff at SVJC are
                     independently licensed professional counselors, and they are
                     qualified to provide therapeutic counseling and care to the
                     residents at SVJC. At the request of those clinicians, and subject to
                     ORR approval, Dr. Gorin provides psychological evaluations
                     and/or risk assessments to certain residents at SVJC. Dr. Gorin is
                     available to discuss his evaluations with the clinicians at SVJC and
                     often does so.

               •     Dr. Gorin's       evaluations   and formulation       of treatment
                     recommendations for residents at SVJC are trauma-informed.       As
                     appropriate, Dr. Gorin explores a resident's history of trauma when
                     performing      a    psychological      evaluation     and    makes
                     recommendations addressing that resident's trauma.          However,
                     individuals have different levels of resiliency, and not all UCs at
                     SVJC suffer from a mental disorder related to trauma. Even for
                     residents who have suffered trauma, any behavioral management
                     program requrres some system of positive and negative
                     consequences.

               •     From the standpoint of psychological care, the use of room
                     confinement,    personal    restraint techniques and mechanical
                     restraints, may be justified and necessary where a resident presents
                     an immediate risk to himself, his peers or to staff.

               •                 a
                     Dr. Gorin is mandatory reporter, meaning that he must report any
                     reported or suspected abuse of residents at SVJC to the relevant
                     authorities, such as the office of Child Protective Services within
                     the Department of Social Services. Throughout his time working
                     with residents at SVJC, Dr. Gorin has never had to report an
                     incident or suspicion of abuse or maltreatment.

               •     Dr. Gorin may also testify regarding his evaluation of John Doe 4.
                     His opinions in this regard are reflected in his psychological
                     evaluation of John Doe 4, which has been produced by SVJC in
                     discovery. As noted in Dr. Gorin's evaluation, it is expected that
                     Dr. Gorin will testify that his evaluation of John Doe 4 was
                     unusual due to inconsistent responses and a lack of candor from
                     John Doe 4.

               •     To the extent that Plaintiffs are permitted to offer evidence
                     regarding John Doe 2, as proffered in the expert reports of Dr.
                     Gregory Lewis and Dr. Andrea Weisman, Dr. Gorin may also
                     testify regarding his evaluation of that individual.  His opinions
                     regarding John Doe 2 are reflected in his records, which have been
                     produced by SVJC in discovery.




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                  3.      Evenor Aleman
                          573 Stonewall Drive
                          Harrisonburg, Virginia 22801

          Mr. Aleman is a licensed professional counselor and is employed by SVJC as a clinician

   in the ORR program. His curriculurn vitae is attached as Exhibit 5.

          SVJC anticipates that Mr. Aleman may be called as a fact witness to testify regarding his

   counseling of John Doe 4 and his personal involvement in the care of other class members at

   SVJC. To the extent that Plaintiffs are permitted to offer evidence regarding John Doe 1 and/or

   John Doe 2, Mr. Aleman may also testify regarding his counseling of those individuals.        Mr.

   Aleman's   factual testimony   likely would involve his application    of expertise, training and

   experience in the counseling of juveniles and, in particular, the class members. Therefore, to the

   extent Mr. Aleman's    factual testimony implicates his specialized knowledge in the field of

   mental health counseling and calls for expert opinions, SVJC designates Mr. Aleman as an

   expert pursuant to Rule 26(a)(2)(C) of the Federai Rules of Civil Procedure.

          The subject matter of Mr. Aleman's      expected testimony will include the provision of

   counseling and mental health services to class members at SVJC and his evaluation of individual

   class members, including John Doe 4.        Mr. Aleman bases his opinions on his experience

   providing counseling services to class members at SVJC, and his interaction with other staff and

   clinicians at SVJC. His testimony may also be based upon his experience working as a licensed

   professional counselor in the Commonwealth of Virginia before his employment at SVJC.

          In summary, SVJC expects that Mr. Aleman may offer the following opinions:

                  •        The mental health care provided by SVJC to class members is
                           appropriate and complies with applicable standards for a juvenile
                           detention center housing a population that is at risk for mental
                           health and psychological disorders. The clinicians on staff at SVJC
                           are independently licensed professional counselors, and they are
                         . qualified to provide therapeutic counseling and care to the



                                       6
Case 5:17-cv-00097-EKD-JCH Document 108 Filed 10/29/18 Page 17 of 50 Pageid#: 3467
                          residents at SVJC. Mr. Aleman meets individually with the UC
                          residents in his care at least once a week, and often more
                          frequently. He also hosts group meetings of UCs at SVJC twice a
                          week to discuss various pertinent topics. Mr. Aleman is able to
                          discuss his evaluations with psychologists and psychiatrists to
                          ensure that his counseling efforts and methods are appropriate and
                          coordinated with the other mental health care provided to class
                          members ..

                  •      The mental health care provided to residents at SVJC is trauma-
                         informed.     As appropriate, Mr. Aleman explores a resident's
                         history of trauma when counseling that resident and works with
                         that resident to explore ways to cope with individualized trauma.
                         Mr. Aleman also works with residents to explore ways to improve
                         behavior and control emotional outbursts that may be associated
                         with a resident's history of trauma andlor violence.

                  •      Mr. Aleman is a mandatory reporter, meaning that he must report
                         any alleged or suspected abuse of residents at SVJC to the relevant
                         authorities, such as the office of Child Protective Services ("CPS")
                         within the Department of Social Services.           Mr. Aleman has
                         reported allegations of abuse that he received from residents to
                         CPS. Throughout his time working with residents at SVJC, none of
                         those allegations have resulted in a finding of abuse by CPS. Mr.
                         Aleman has never seen or suspected any abusive conduct or
                         excessive force applied by SV JC staff toward UC residents.

                  •      Mr. Aleman may also testify regarding his counseling of John Doe
                         4. His opinions in this regard are reflected in his progress notes for
                         John Doe 4, which have been produced by SVJC in discovery.

                  •      To the extent that Plaintiffs are permitted to offer evidence
                         regarding John Doe 1 andlor John Doe 2, as proffered in the expert
                         reports of Dr. Gregory Lewis and Dr. Andrea Weisman, Mr.
                         Aleman may also testify regarding his counseling of those
                         individuals. His opinions regarding those individuals are reflected
                         in his progress notes, which have been produced by SVJC in
                         discovery.

                  4.     Philip A. Mayles
                         1181 Lincolnshire Drive
                         Rockingham, Virginia 22802

          Mr. Mayles is a licensed professional counselor and was recently employed by SVJC as a

   clinician in the ORR program. His curriculum vitae is attached as Exhibit 6.



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            SVJC anticipates that Mr. Mayles may be called as a fact witness to testify regarding his

    counseling of John Doe 4 and his personal involvement         in the care of other class members at

    SVJC. Mr. Mayles' factual testimony likely would involve his application of expertise, training

    and experience in the counseling of juveniles and, in particular, residents at SVJc.   Therefore, to

    the extent    Mr. Mayles'   factual testimony implicates his specialized   knowledge in the field of

    mental health counseling and calls for expert opinions, SVJC designates Mr. Mayles as an expert

    pursuant to Rule 26(a)(2)(C) of the Federal Rules of Civil Procedure.

            The subject matter of Mr. Mayles'        expected testimony will include the provision of

    counseling and mental health services to class members at SVJC and his evaluation of individual

    class members,       including John Doe 4.     Mr. Mayles bases his opinions on his experience

    providing counseling services to class members at SVJC, and his interaction with other staff and

    clinicians at SVJC.    His testimony may also be based upon his experience working as a licensed

   professional    counselor in the Commonwealth       of Virginia before and after his employment at

    SVJC.

            In summary, SVJC expects that Mr. Mayles may offer the following opinions:

                     •       The mental health care provided by SVJC to class members is
                             appropriate and complies with applicable standards for a juvenile
                             detention center housing a population that is at risk for mental
                             health and psychological disorders. The clinicians on staff at SVJC
                             are independently licensed professional counselors, and they are
                             qualified to provide therapeutic counseling and care to the
                             residents at SVJC.    While employed at SVJC, Mr. Mayles met
                             individually with the UC residents in his care at least once a week,
                             and often more frequently. He also hosted group meetings of UCs
                             at SVJC to discuss various pertinent topics. Mr. Mayles was able
                             to discuss his evaluations with psychologists and psychiatrists to
                             ensure that his counseling efforts and methods were appropriate
                             and coordinated with the other mental health care provided to class
                             members.




                                                       8
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                    •       The mental health care provided to residents at SVJC is trauma-
                            informed. While he was employed as a counselor at SVJC, Mr.
                            Mayles 'explored a resident's history of trauma when counseling
                            that resident and would explore ways to cope with individualized
                            trauma. 'Mr. Mayles also worked with residents to explore ways to
                            improve behavior and control emotional outbursts that may be
                            associated with a resident's history of trauma and/or violence.

                    •       Mr. Mayles was a mandatory reporter, meaning that he was
                            required to report any alleged or suspected abuse of residents at
                            SVJC to the relevant authorities, such as the office of Child
                            Protective Services ("CPS") within the Department of Social
                            Services.    Mr. Mayles reported allegations of abuse that he
                            received from residents to CPS. Throughout his time working with
                            residents at SVJC, none of those allegations resulted in a finding of
                            abuse by CPS. Mr. Mayles never saw or suspected any abusive
                            conduct or excessive force applied by SVJC staff toward UC
                            residents.

                    •        Mr. Mayles may also testify regarding his counseling of John Doe
                             4. His -opinions in this regard are reflected in his progress notes for
                            .John Doe 4, which have been produced by SVJC in discovery.

                    5.      'Melissa Cook
                             2002 Mount Clinton Pike
                             Harrisonburg, Virginia 22802

            Ms. Cook is a licensed professional counselor and is employed by SVJC as a the lead

   clinician in the ORR program.      Her curriculum vitae is attached as Exhibit 7.

            To the extent that Plaintiffs are permitted to offer evidence regarding John Doe 3, SVJC

   anticipates   that Ms. Cook may De called as a fact witness to testify regarding her personal

   involvement in the care of the class members,        and specifically of John Doe 3, at SVJC.       Ms.

   Cook's    factual testimony    likely would involve       her application   of expertise,   training and

   experience in the counseling of juveniles and, in particular, the class members.       Therefore, to the

   extent Ms. Cook's factualtestimony       implicates her specialized knowledge in the field of mental

   health counseling     and/or cails for expert opinions,     SVJC designates    Ms. Cook as an expert

   pursuant to Rule 26(a)(2)(C) of the Federal Rules of Civil Procedure.




                                                       9
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            The subject   matter     of Ms. Cook's     expected      testimony     will include    the provision   of

    counseling   and mental health services     to class members, and specifically,          John Doe 3, at SVJC.

    Ms. Cook bases her opinions       on her experience       providing   counseling    services   to class members

    at SVJC, and her interaction     with other staff and clinicians      at SVJC.     Her testimony     may also be

   based upon her experience        working   as a licensed     professional     counselor   in the Commonwealth

   of Virginia   and elsewhere     before her employment       at SVJC.

            In summary, SVJC expects that Ms. Cook may offer the following                   opinions:

                    •       To the extent that Plaintiff is permitted to offer evidence regarding
                            John Doe 3, as proffered in the expert reports of Dr. Gregory
                            Lewis and Dr. Andrea Weissman, Ms. Cook may also testify
                            regarding   her counseling     of that individual.      Her opinions
                            regarding are reflected in her progress notes, which have been
                            produced by SVJC in discovery

                    6.      Dr. Gustavo Rife, Psy. D
                            9544 Old Keene Mill Road, Suite F,
                            Burke, Virginia 22015

           Dr. Rife is a licensed clinical psychologist.        His curriculum vitae is attached as Exhibit 8.

           To the extent that Plaintiffs are permitted to offer evidence regarding John Doe 1 and/or

   John Doe 3, SVJC anticipates that Dr. Rife may be called as a fact witness to testify regarding

   his psychological evaluations of John Doe 1 and John Doe 3. Dr. Rife's factual testimony likely

   would involve his application of medical expertise and training in his evaluation of John Doe 1

   and John Doe 3. Therefore, to the extent Dr. Rife's factual testimony implicates his specialized

   knowledge in the field of psychology and calls for expert opinions, SVJC designates Dr. Rife as

   an expert pursuant to Rule 26(a)(2)(C) of the Federal Rules of Civil Procedure.

           In summary, SVJC expects that Dr. Rife may offer the following opinions:

                   •       To the extent that Plaintiffs are permitted to offer evidence
                           regarding John Doe 1 and/or John Doe 3, as proffered in the expert
                           reports of Dr. Gregory Lewis and Dr. Andrea Weisman, Dr. Rife




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                          may testify regarding his treatment and evaluation of those
                          individuals. His opinions regarding those individuals are reflected
                          in his treatment notes, which have been produced by SVJC in
                          discovery.


    Dated:   September 28,2018


                                                SHENANDOAH VALLEY JUVENILE
                                                     CENTER COMMISSION
                                                              By Counsel




   By: /s/ Jason A. Botkins
   Jason A. Botkins (VSB No. 70823)
   Melisa G. Michelsen (VSB No. 40001)
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   Harold E. Johnson (VSB No. 65591)
   Meredith M. Haynes (VSB No. 80163)
   Williams Mullen
   200 South 10th Street
   Richmond, Virginia 23219
   Telephone (804) 420-6000
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   Counsel for Shenandoah Valley Juvenile Center Commission




                                                  11
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                                 EXHIBIT 2




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Howard, Theodore

From:                                      Johnson, Harold <HJohnson@williamsmulien.com>
Sent:                                      Wednesday, October 10, 2018 9:01 AM
To:                                        Howard, Theodore; Hannah Lieberman
Cc:                                        Botkins Jason; Haynes, Meredith
Subject:                                   FW: Draft Report [IWOV-IWOVRIC.FID1932679]


Ted,

Anne Nelsen's schedule is booked up the next couple of weeks, including a conference the week of the            Her next          zz=.
available dates are October 30 (preferred), or October 29 and November 2. These dates presume that you will depose
her by video, (meaning she has not checked availability for travel on either side of the deposition date.) Also, she asked
that we keep in mind that she's two hours behind us, so we can't start too early.

I am playing phone tag with Dr. Kane's office about available dates for his dep, and I will let you know as soon as I have
news on that front.

Yours,
Hal



Harold E. Johnson I Attorney I Williams Mullen
Williams Mullen Center I 200 South 10th Street, Suite 1600 I P.O. Box 1320 (23218) I Richmond, VA 23219
T 804.420.6447 I C 804-349-6760 I F 804.420.6507 I hjohnson@williamsmullen.com I www.wiliiamsmullen.com

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                                 EXHIBIT 3




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 Howard, Theodore

From:                               Johnson, Harold <HJohnson@wiliiamsmulien.com>
Sent:                               Thursday, October 11, 20184:15 PM
To:                                 Howard, Theodore
Cc:                                 'Jason Botkins'
Subject:                            RE: Video Deposition Next Tuesday [IWOV-IWOVRIC.FID1920328j


Ted,

Dr. Kane's availability on short notice is extremely limited. After some back and forth, it looks we could do it on Nov
2d. The problem is that he's only got a three-hour window from 8am to 11am. Let me know if that is workable from
your perspective. If not, I can see if he'd be willing to do it one evening.

Yours,
Hal


From: Howard, Theodore <THoward@wileyrein.com>
Sent: Thursday, October 11, 20189:39 AM
To: Johnson, Harold <HJohnson@williamsmulien.com>
Cc: Greg Constantine <gconstantine@veritext.com>
Subject: FW: Video Deposition Next Tuesday
Importance: High

Hal: Have you decided to make different arrangements instead of setting things up through Veritext? I just need to
make sure that we are all set up through our tech folks on this end, and I have not heard anything. Please advise;
thanks. Ted


From: Greg Constantine <gconstantine@veritext.com>
Sent: Wednesday, October 10, 2018 5:19 PM
To: Howard, Theodore <THoward@wileyrein.com>
Subject: RE: Video Deposition Next Tuesday

Hey Ted,

I have not heard from Hal - but I can work with your IT guys to set-up everything for the room. I just need the IT's
name/info.

Should I also go ahead and just set-up a court reporter or should I wait for Hal?   I would hate for everything to be ready
to go and no court reporter scheduled.

Thanks,

G

Greg M. Constantine
Senior Account Executive

VERITEXT
1250 Eye Street, Suite 350
Washington, DC 20005

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    Case 5:17-cv-00097-EKD-JCH Document 108 Filed 10/29/18 Page 26 of 50 Pageid#: 3476
P 202-803-88531    C 301-875-5101
gconstantine@veritext.com




From: Howard, Theodore [mailto:THoward@wileyrein.com]
Sent: Wednesday, October 10, 20184:55 PM
To: Greg Constantine <gconstantine@veritext.com>
Subject: Video Deposition Next Tuesday

Hey, Greg. Have you heard anything from Hal Johnson at Williams Mullen about this? It just occurred to me that I need
to reserve a room with video capacity and that someone from your end needs to be in touch with our tech people re
logistics. If you know anything in this regard, please clue me in.

Thanks. Ted

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                                 EXHIBIT 4




Case 5:17-cv-00097-EKD-JCH Document 108 Filed 10/29/18 Page 28 of 50 Pageid#: 3478
Howard. Theodore

From:                              Hannah Lieberman < hannah_lieberman@washlaw.org>
Sent:                              Wednesday, October 17, 20189:32 AM
To:                                Jason Botkins; Melisa Michelsen; Johnson, Harold (HJohnson@wiliiamsmulien.com);
                                   mhaynes@williamsmullen.com
Cc:                                Howard, Theodore; Tiffany Yang; Mirela Missova
Subject:                           scheduling matters


Counsel:
I am following up on the outstanding issues regarding scheduling depositions of defendant's designated experts and
associated deadlines:

      (1) We are willing to depose Dr. Kane from 8 to 11 am on November 2, with the understanding that, if the
          deposition is not completed within that time, we will schedule a later date and time for its completion.
      (2) You have designated Evenor Aleman as one of your experts. We would like to schedule his expert deposition for
          the afternoon of November 2. We propose starting at 1:30 on the 2nd. Since we have already deposed him as a
          fact witness, we do not expect this to be a long deposition and contemplate completion ofthe deposition within
          that afternoon.
      (3) We are able to accommodate Ms. Nelsen's preference for an October 30 video deposition. We propose starting
          at 10:30 eastern time, if she can manage that on her end. Once we have confirmation of date and time, we will
          take care ofthe logistics.
      (4) We would like to schedule the depositions of Drs. Rife and Gorin on October 31, if possible. We can do them
          simultaneously and expect (although obviously cannot guarantee) that they will take approximately half a day
          each. If this is not a convenient date, please let us know what would work for each of them.

We are willing to extend the date by which defendant must submit motions to exclude expert testimony from the
current deadline of October 22, 2018 to October 26, 2018. However, given the difficulties of scheduling depositions of
defendant's experts within the current schedule despite everyone's good faith efforts, we ask, in exchange, that
plaintiffs be afforded the same interval of time (9 days) from completion of the depositions of defendant's experts to
submit any motions we may have to exclude any of defendant's experts. Assuming we are able to arrange for
defendant's expert depositions to occur as set forth above, our proposed deadline for any such motions is Monday,
November 12. We are willing to set November 12 as our deadline even if we are unable to complete Dr. Kane's
deposition on the 2nd• We understand, of course, that these alterations in the current schedule for submission of
motions will need Court approval.

Sincerely,
Hannah

HANNAH E.M. LIEBERMAN, LEGAL DIRECTOR
WASHINGTON LAWYERS' COMMITTEE FOR CIVIL RIGHTS AND URBAN AFFAIRS
11 Dupont Circle,NW, Suite 400 1 Washington, DC 20036
202-319-1000 ext. 130 (main) 1202-319-1040 (direct) 1202-319-1010 (fax)




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                                 EXHIBIT 5




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Howard, Theodore

From:                               Johnson, Harold < HJohnson@wiliiamsmullen.com>
Sent:                               Wednesday, October 17, 2018 5:37 PM
To:                                 Hannah Lieberman; Jason Botkins; Melisa Michelsen; Haynes, Meredith
Cc:                                 Howard, Theodore; Tiffany Yang; Mirela Missova
Subject:                            RE: scheduling matters [IWOV-IWOVRIC.FID1919827]


Hannah,

Thank you for following up on these scheduling issues. I have confirmed the Nov. 2d date with Dr. Kane's office. If you
need more than three hours to depose Dr. Kane, we can try to find a time to complete the deposition. However, I am
not in a position to guarantee his availability. To maximize his availability that day, I suggest taking the deposition at or
near his office in Staunton.

I have also confirmed the October 30th date for Ms. Nelsen. She is agreeable to starting the deposition at 10:30am
(EST). Please let me know as soon as possible the location for her videoconference deposition so that she can plan
accordingly.

We cannot agree to your request to take additional t'expert" depositions of Evenor Aleman, Dr. Rife and/or Dr. Gorin at
this late stage. (We were willing to extend the deadline for deposing Dr. Kane and Ms. Nelsen because Ted asked about
dates for them following Dr. Weisman's deposition on October 5th, but we were not able to get available dates for them
until Nov. 2d and Oct. 30th, respectively.) However, your request to depose Drs. Rife and Gorin, and to re-depose Evenor
Aleman, comes after the deadline for completing expert depositions and almost three weeks after they were
designated. They were identified as potential witnesses in SVJC's initial disclosures dated March 5, 2018, and you've
known of their respective roles at SVJC at least since that time. Moreover, we designated those witnesses as "experts"
out of an abundance of caution because of the likelihood that, due to the nature of their job responsibilities working
with youth at SVJC, they will testify regarding matters that require specialized knowledge or expertise. Ultimately,
however, they are fact witnesses who could have been deposed prior to the September 28th deadline. Finally, you have
already deposed Mr. Aleman for over seven hours regarding his counseling of UC's at SVJc. Indeed, that deposition
covered (either directly or indirectly) the various subjects identified in the expert designation for Mr. Aleman. With all
of this in mind, and given the expedited pretrial schedule to which we all agreed, we cannot justify the burden of
engaging in expert depositions that were not even requested until after the deadline.

For the same reason, we cannot assent to setting a November 12 deadline for plaintiff to file motions to exclude
experts. Our request for such an extension is on a different footing. We originally requested dates to depose Dr. Lewis
and Dr. Weisman via a July 14, 2018 email from Jason Botkins. Then, after plaintiff designated expert testimony on
September 11, 2018, we again requested dates via email on Sept. 14 and again on Sept. 21. When we received available
dates for Dr. Lewis on Sept. 25 (via email from Ted Howard), the earliest available date for Dr. Lewis' deposition was
October 16th (after the expert deposition deadline). Therefore, our inability to meet the October 22nd deadline for
motions to exclude is not due to any delay in our request for dates. I would also note that extending your motions
deadline to November 12th would mean that our brief in opposition to such motions would be due Monday, November
26th, which immediately follows the Thanksgiving holiday. The abbreviated pretrial scheduling order was designed to
minimize interference with everyone's Thanksgiving.

Please understand that we have given your request considerable thought. We have tried to accommodate previous
requests for extensions or other accommodations. For example, we agreed to your requests (i) to extend the deadline
to serve RFA's, (ii) to extend plaintiff's expert designation deadline, (iii) to allow plaintiff to surpass the limit of 10

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depositions    under Rule 30(a)(2)(A)(i),       (iv) to allow plaintiff to conduct numerous discovery depositions after the
September 28th cutoff for fact discovery, and (v) to extend the deadline for you to depose Anne Nelsen and Dr.
Kane. We have tried to work collegially with you on these scheduling matters, and we will continue to do so. However,
extending a deadline by three weeks when we're under an expedited pre-trial schedule and only two months away from
trial is not something we feel we can do while effectively representing our client's interests.

Given our position stated above, I will understand if you want to re-evaluate our request for an extension to file our
motions to exclude through next week. Please let me know whether plaintiff will consent to such an extension so that
we can determine whether we need to file a motion to extend the deadline with the Court tomorrow.

Thank you,
Hal

Harold E. Johnson I Attorney I Williams Mullen
Williams Mullen Center I 200 South 10th Street, Suite 1600 I P.O, Box 1320 (23218) I Richmond, VA 23219
T 804.420.6447 I C 804-349-6760 I F 804.420.6507 I hjohnson@williamsmullen,com I www.wil iamsmullen.com

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From: Hannah Lieberman <hann'ah_lieberman@washlaw.org>
Sent: Wednesday, October 17, 2018 9:32 AM
To: Jason Botkins <jason.botkins@ifttensipe.com>; Melisa Michelsen <melisa.michelsen@littensipe.com>; Johnson,
Harold <HJohnson@wiliiamsmullen.com>; Haynes, Meredith <mhaynes@williamsmullen.com>
Cc: Howard, Theodore <thoward@wileyrein.com>; Tiffany Yang <tiffany_yang@washlaw.org>; Mirela Missova
<mirela_missova@washlaw.org>
Subject: scheduling matters

Counsel:
I am following up on the outstanding issues regarding scheduling depositions of defendant's designated experts and
associated deadlines:

    (1) We are willing to depose Dr. Kane from 8 to 11 am on November 2, with the understanding that, if the
        deposition is not completed within that time, we will schedule a later date and time for its completion.
    (2) You have designated Evenor Aleman as one of your experts. We would like to schedule his expert deposition for
        the afternoon of November 2. We propose starting at 1:30 on the 2nd. Since we have already deposed him as a
        fact witness, we do not expect this to be a long deposition and contemplate completion of the deposition within
        that afternoon.
    (3) We are able to accommodate Ms. Nelsen's preference for an October 30 video deposition. We propose starting
        at 10:30 eastern time, if she can manage that on her end. Once we have confirmation of date and time, we will
        take care of the logistics.
    (4) We would like to schedule the depositions of Drs. Rife and Gorin on October 31, if possible. We can do them
        simultaneously and expect (although obviously cannot guarantee) that they will take approximately half a day
        each. If this is not a convenient date, please let us know what would work for each of them.

We are willing to extend the date by which defendant must submit motions to exclude expert testimony from the
current deadline of October 22, 2018 to October 26, 2018. However, given the difficulties of scheduling depositions of
defendant's experts within the current schedule despite everyone's good faith efforts, we ask, in exchange, that
plaintiffs be afforded the same interval of time (9 days) from completion of the depositions of defendant's experts to
submit any motions we may have to exclude any of defendant's experts. Assuming we are able to arrange for
defendant's expert depositions to occur as set forth above, our proposed deadline for any such motions is Monday,
                                                                          2
   Case 5:17-cv-00097-EKD-JCH Document 108 Filed 10/29/18 Page 32 of 50 Pageid#: 3482
November 12. We are willing to set November 12 as our deadline even if we are unable to complete Dr. Kane's
deposition on the 2nd• We understand, of course, that these alterations in the current schedule for submission of
motions will need Court approval.

Sincerely,
Hannah

HANNAH E.M. LIEBERMAN, LEGAL DIRECTOR
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                                 EXHIBIT 6




Case 5:17-cv-00097-EKD-JCH Document 108 Filed 10/29/18 Page 34 of 50 Pageid#: 3484
Howard, Theodore

From:                            Hannah Lieberman < hannah_lieberman@washlaw.org>
Sent:                            Thursday, October 18, 2018 1 :56 PM
To:                              Johnson, Harold (HJohnson@williamsmullen.com);   'mhaynes@williamsmullen.com';
                                 'Jason Botkins'; Melisa Michelsen
Cc:                              Howard, Theodore; Tiffany Yang; Mirela Missova
Subject:                         scheduling matters



Hal:


I am, frankly, disappointed in your email of yesterday afternoon. Throughout this case, we have maintained a
collegial relationship with opposing counsel, in which both sides have made an effort to accommodate the
reasonable requests of the other. I do not believe that our requests with respect to experts set forth in my email
were unreasonable, unduly delayed, without notice or otherwise prejudicial to defendant or defendant's
counsel.
Until your recent designation of seven expert witnesses, we were not aware that you planned to name Dr. Kane,
Dr. Rife or Dr. Gorin (not to mention Messrs. Aleman or Mayles, or Ms. Cook), as expert witnesses for
defendant. While they were identified as persons with knowledge of the facts of the case in initial disclosures,
they were not then nor at any time before your September 28 disclosure identified as persons whom you
expected to call as experts. We are not seeking to depose them as fact witnesses, but in their newly disclosed
capacity as experts.
When Ted spoke with you to schedule, as an initial matter, the expert depositions of Dr. Kane and Ms. Nelsen,
he indicated that we were still considering deposing your other expert designees, particularly Drs. Gorin and
Rife. There was certainly no indication from you at that time that you would object to making them available
and there was an understanding that flexibility with regard to deadlines was inevitable, given the timetable
under which we are working. And we assented both to an October 30 date for Ms. Nelsen, and acceded to
conduct an initial three-hour deposition of Dr. Kane, to accommodate their requests and their schedule - not
ours. We did so in the spirit of the cooperation that, as noted above, has previously characterized the
relationship between counsel.
Requests for schedule accommodations have gone both ways in this case. While I do not think it helpful or
productive to go through examples in detail, plaintiffs made many changes to their proposed deposition
schedule to accommodate defendant's witnesses. As a result of those various accommodations to accommodate
counsel and witnesses, depositions were conducted after the September 28 cutoff.
In an effort to stop unproductive and somewhat inaccurate finger-pointing, we are willing, in an effort at
compromise, to do the following:
        Forego the deposition ofMr. Aleman as an expert, in light of your representation that the subjects on
        which he may be called to provide expert testimony were covered (directly or indirectly) in his
        deposition which, as you indicate in your e-mail, focused on his counseling of unaccompanied minors at
        SVJC.
        Forego the deposition of Dr. Rife
        Agree to the extension you seek for motions regarding expert exclusion, subject to the information
        below, in exchange for our being afforded a roughly equivalent opportunity with regard to defendants'
        experts. However, we would be willing to stipulate to a November 7 deadline for filing any such motion
        with respect to defendants' experts, making a response due prior to Thanksgiving.

                                                          1
  Case 5:17-cv-00097-EKD-JCH Document 108 Filed 10/29/18 Page 35 of 50 Pageid#: 3485
If the foregoing is not agreeable, we think we will need to bring these matters to Magistrate Hoppe. I trust we
will not have to do so.


On a related matter, we have conferred with Dr. Paul Diver following his deposition on Tuesday. As he
indicated he would need to do, he has reviewed the data and has concluded that BRG will be submitting an
amended report to address the issues that were raised. We will provide you with that amended report on
Monday, October 22. We understand that you may want an opportunity to re-depose Dr. Diver regarding
changes he may make, and will, of course, accommodate any such request. We are also willing to agree to an
extension of the deadline for defendant to file a motion to exclude that report, if defendants remain so inclined.
Sincerely,


Hannah




                                                         2
  Case 5:17-cv-00097-EKD-JCH Document 108 Filed 10/29/18 Page 36 of 50 Pageid#: 3486
                                 EXHIBIT 7




Case 5:17-cv-00097-EKD-JCH Document 108 Filed 10/29/18 Page 37 of 50 Pageid#: 3487
Howard, Theodore

From:                             Johnson, Harold < HJohnson@williamsmullen.com>
Sent:                             Thursday, October 18, 2018 7:29 PM
To:                               Hannah Lieberman; Haynes, Meredith; 'Jason Botkins'; Melisa Michelsen
Cc:                               Howard, Theodore; Tiffany Yang; Mirela Missova
Subject:                          RE: scheduling matters [IWOV-IWOVRIC.FID1919826]


Hannah,

I agree with you that we've been able to work well together and accommodate reasonable requests in this matter. My
recitation of examples where we have agreed to extend deadlines or provide other courtesies was not intended to
engage in a "finger-pointing" exercise. Rather, my intent was to demonstrate that it is not our practice to object to such
requests just for the sake of being difficult. However, your request to take additional expert depositions and extend
your deadline to file motions to exclude by almost three weeks is different. At this point in our expedited schedule, we
cannot afford to push back such deadlines. Again, we are willing to accommodate your request to depose Dr. Kane and
Ms. Nelsen, but we cannot agree to the deposition of Dr. Gorin, Dr. Rife or any other witnesses that were only requested
yesterday. Nor can we agree to extend any deadline for plaintiff to file motions to exclude.

For the same reasons we do not consent _ and expressly object _ to extending the deadline for Dr. Diver to disclose an
amended report or opinions.

Yours,
Hal



From: Hannah Lieberman <hannah_lieberman@washlaw.org>
Sent: Thursday, October 18, 2018 1:56 PM
To: Johnson, Harold <HJohnson@williamsmullen.com>; Haynes, Meredith <mhaynes@williamsmullen.com>; 'Jason
Botkins' <jason.botkins@littensipe.com>; Melisa Michelsen <melisa.michelsen@littensipe.com>
Cc: Howard, Theodore <thoward@wileyrein.com>; Tiffany Yang <tiffany_yang@washlaw.org>; Mirela Missova
<mirela_missova@washlaw.org>
Subject: scheduling matters

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collegial relationship with opposing counsel, in which both sides have made an effort to accommodate the
reasonable requests of the other. I do not believe that our requests with respect to experts set forth in my email
were unreasonable, unduly delayed, without notice or otherwise prejudicial to defendant or defendant's
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defendant. While they were identified as persons with knowledge of the facts of the case in initial disclosures,
they were not then nor at any time before your September 28 disclosure identified as persons whom you
expected to call as experts. We are not seeking to depose them as fact witnesses, but in their newly disclosed
capacity as experts.

                                                            1
  Case 5:17-cv-00097-EKD-JCH Document 108 Filed 10/29/18 Page 38 of 50 Pageid#: 3488
When Ted spoke with you to schedule, as an initial matter, the expert depositions of Dr. Kane and Ms. Nelsen,
he indicated that we were still considering deposing your other expert designees, particularly Drs. Gorin and
Rife. There was certainly no indication from you at that time that you would object to making them available
and there was an understanding that flexibility with regard to deadlines was inevitable, given the timetable
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counsel and witnesses, depositions were conducted after the September 28 cutoff.
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         Agree to the extension you seek for motions regarding expert exclusion, subject to the information
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changes he may make, and will, of course, accommodate any such request. We are also willing to agree to an
extension of the deadline for defendant to file a motion to exclude that report, if defendants remain so inclined.
Sincerely,


Hannah




                                                         2
   Case 5:17-cv-00097-EKD-JCH Document 108 Filed 10/29/18 Page 39 of 50 Pageid#: 3489
                                 EXHIBIT 8




Case 5:17-cv-00097-EKD-JCH Document 108 Filed 10/29/18 Page 40 of 50 Pageid#: 3490
                                             JOHN DOE 4
                                                    vs
          SHENANDOAH VALLEY JUVENILE CENTER




                                              Deposition of
                                     Kelsey Rebecca Wong
                                            August 22, 2018




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   . VIDEOCONFERENCING
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  Case 5:17-cv-00097-EKD-JCH Document 108 Filed 10/29/18 Page 41 of 50 Pageid#: 3491
                                  Deposition       of Kelsey Rebecca              Wong
                                                 August 22, 2018
                                                   Page 197                                                    Page 199
  1     Q.   They'd be referred to a clinician and what    1       appropriate?
  2 would happen then?                                     2          A. Uh-huh.
  3    A. The staff would ensure their safety' and         3·         Q.     Does he provide any kind of therapy?
 4 they would provide more -- make sure that they're       4          A. I don't know if you consider -- I'm not
  5 under intensive watch.                                 5       sure if medication management is considered therapy.
  6    Q.   Would there be -- would the child receive      6          Q.     Or any treatment beyond medication
  7 an evaluation?                                         7       management?
 8     A. By the clinician, or if the clinician            8          A.     Not to my knowledge.
 9 isn't available and there's -- you know, if the child   9          Q.     And how often does he see kids?
 10 cannot be kept safe, then emergency services would be 10           A. He comes about every three weeks to the
11 contacted.                                             11       facility.
12      Q.    And would they receive treatment· from      12           Q.     Does he see just the ORR kids?
13 anybody on the SV JC staff?                            13           A. Yes.
14      A. Continued counseling.                          14           Q.     Does he see all of them when he comes?
15      Q.    By the clinicians?                          15           A. He has a list that he sees based on --
16      A. Yeah.                                          16       when he first meets them, he may want to see them six
17      Q.   Would they see a psychologist?               17       weeks out or in the next three weeks depending on
18      A. They may see a psychiatrist.                   18       whatever he thinks is appropriate.
19      Q.   And who would that be?                       19           Q.    We were talking about ORR needs to approve
20      A. Dr. Timothy Kane, K-A-N~E, and if there        20       a kid seeing a psychologist. Who requests -- who
21 are mental health concerns, then the clinician would   21       makes the request to ORR to see the psychologist?
22 probably refer to a psychologist or request approval   22          A. We staff the case with the case
23 to do a psychological evaluation for the minor.        23       coordinator, and we elevate it to our FFS for
24      Q.   And who would do the psychological           24       approval.
25 evaluation of the minor?                               25          Q.     Is the case coordinator different than the

                                                  Page 198                                                     Page 200
 1    A. One of the psychologists that we have                1    case manager?
 2 available to --                                            2        A. Yes. A case coordinator is a third-party
 3    Q. Whom you mentioned before, Dr. Rife or               3    contractor to ORR, and she also supervises the cases
 4   Dr. Gorin?                                               4    of the kids in our care.
 5      A.  Uh-huh, those are our current ones we             5        Q. All of the UCs in your care?
 6 utilize.                                                   6        A. Yes, ma'am.
 7      Q.   So could any youth who wants to see a            7        Q. And who else is in that ambit? You
 8 psychologist see either Dr. Rife or Dr. Gorin, or is       8    said --
 9   it just a limited subset of kids who see them?           9        A. Case managers, clinicians, all of us staff
10         A. Only UAC see them.                              10    the cases together with the case coordinator.
11         Q. And if a UAC asks to see a psychologist,        11        Q. You're involved in that as well?
12    would they be able to see one of the two of them?       12        A. When I'm available, yes.
13         A.   If approved by ORR. •                         13        Q. Who is the case coordinator?
14         Q. And what information, if any, does ORR get      14       A. Patricia Melendres.
15    about their circumstances?                              15       Q.    Who's she with?
16         A. They receive all the information.. All of       16       A.    GDIT, General Dynamics Information
17    it is documented.                                       17   Technology.
18         Q. It goes to that portal?                         18       Q. In the mental health standard operating
19         A. Yeah, and all the information is staffed        19   procedure, there's a reference to a special purpose
20   weekly and information is provided on a weekly basis     20   room, intensive watch, slash, special purpose room.
21   to them.                                                 21   What is the special purpose room?
22         Q. What does Dr. Kane do?                          22       A. What page are you on?
23         A.   He's a psychiatrist and he provides           23       Q. Page 2 at the bottom.
24    medication management for the youth.                    24       A. We do have an intensive watch room. It's
25         Q. So he makes sure their meds are·                25   a unit -- a room that has two cameras in it. If a


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                              scheduling@hartreporting.com                  Pageid#: 3492
                                                                                  907-4278
                                                          JOHN DOE 4
                                                                vs

S ENANDOAH VALLEY JUVENILE CENTER COMMIS




                              .'   ';.:   ..• "-   .. '
                                                           Deposition of
                                                          Evenor Aleman
                                          September O~, 2018




               Statewide Covereg« io Virginia                   Netioos! and International Scheduling
 590 Neff Avenue,Suite 2000         1020 Ednam Center, Suite 002         205 34th Street, #1601
 Harrisonburg, VA 22801               Charlottesville,VA 22903       Virginia Beach,VA 23452
 (54-0)
   Case 801-0288                           (434)
          5:17-cv-00097-EKD-JCH Document 108     296-3111
                                              Filed                             (757)227-4241
                                                     10/29/18 Page 43 of 50 Pageid#:   3493
                                        Deposition of Evenor Aleman
                                             September 05, 2018
                                              '.    Page   193                                                      Page 195
 1    you were actually a man or a woman, because there are       1    adolescent-onset type with limited prosocial emotions,
 2    other places where we saw you referred to as                2    severe, 296.99, disruptive mood dysregulation, 311,
 3    Ms. Aleman for some reason. Anyway, putting that             3   other specified depressive disorder, short-duration
 4    aside, "According to Evenor Aleman, Clinician, Edilber     .4    episode."
 5    has a history of human trafficking, drug smuggling,          5          When you had the opportunity to review Dr.
 6    possible cartel involvement, substance abuse, mental         6   Rife's findings as I just read them, Mr. Aleman, what
 7    health concerns including self-harm and aggressive           7   was your reaction? What was your conclusion? Any
 8    behavior towards adults and peers. Given his history,        8   surprises there in terms of you -- as far as you were
 9    the referral source indicated that it is not clear how       9   concerned?
10      Edilber is functioning at the personality, cognitive,     10       A. No.
11      psychosocial, and emotional level. He was referred        11       Q. Okay. These are the kinds of things that
12     for a psychological evaluation to determine. treatment     12    you would have expected Dr. Rife to conclude?
13     recommendations and to obtain a riskassessment due to      13       A. Yes.
14     his history of criminal activity, aggression and           14       Q. Okay. What is avoidant personality, if you
15     mental health issues while in ORR/DC care."                15    know?
16            On its face, it does not say anything about         16      A. To be honest, I wouldn't feel comfortable
17     his case plan or his desire to stay in the United          17   explaining it because I don't want to provide
18     States, Nevertheless, I take it, it's your testimony       18   incorrect information regarding that.
19     that that was part of the motivation for this              19      Q. Okay. In the summary and recommendationson
20     psychological evaluation. Is thatfair?                    20    page 7, number 1, Rife said, "Edilber would benefit
21        A. Yes.                                                L I   TrOm comlnuea mOnitoringby his psychiatris'fo-lhol!U~!I---+--
22        Q. Okay. And in the clinical interview section         22    adjustment on his psychotropic medications given his
23    that starts at the tap of page two, ,do you know if --     23    previous self-harming behavior, especially if he
24    as you did in connection with theclinical addendum         24    becomes more withdrawn or depressed due to his
25    that we looked at a few rninutesaqo, 'do you know          25    incarceration." Is that something that was followed

                                                   Page 194                                                         Page 196
 1   whether Dr. Rife would have relied on some of the            1    Up on, as far as you know, by Shenandoah?
 2   information that you -- some or all of the information      2         A. My understanding is he continued -- while at
 3   that you provided in your clinical addendum or whether      3     our facility, he regularly met with our psychiatrist,
 4   he would have determined all of this on the basis of        4     who managed his medication.
 5   his own interaction with Edilber?                           5         Q. Okay. But as far as you know, there -- were
 6       A. . I don't know specifically what Dr. Rife            6     there any significant changes in his medication
 7   would do on that.                                           7     routine during the time that he was at SVJC?
 8       Q. Okay. As a result of his own assessment, on          8        A. I don't know how significant because I'm not
 9   page 6, diagnostic impression, Dr. Rife reports, "The       9     a psychiatrist, but there were adjustments to his
10    clinical interview found indications of problems with      10     medication throughout the time that he was there.
11    a history of trauma, possible cartel involvement,          11        Q. Okay. And is it your practice, or would it
12    human smuggling, substance use, antisocial and             12     beyour business, for that matter, to confer with the
13    delinquent behaviors, impulsivity, anger control           13     psychiatrist concerning matters of medication --
14    issues, interpersonal difficulties, egotism, lack of       14        A. Yes.
15    insight and a substantial disregard for social             15        Q. -- I mean, just so you understand exactly
16    conventions and rules. There was also a history of         16     sort of what's being done and why?
17    physical abuse and possible exposure to other trauma,      17        A. Yes.
18    but there are no evident symptoms for PTSD at this         18        Q. Okay. And did you do that in this instance?
19   time, It is also likely that he is developing'              19        A. Yes.
20   symptoms usually associated with avoidant personality;      20        Q. And who was the psychiatrist?
21   symptoms that should be monitored by treating               21        A. Dr. Timothy Kane.
22   professionals. It is my opinion within a reasonable         22        Q. Is that spelled K-a-n-e?
23   degree of psychological certainty that the profile of       23        A. Correct.
24   symptoms present meet criteria for the following DSM-5      24        Q. Okay. And insofar as you know, is Dr. Kane
25   diagnosis of: 312.32, conduct disorder,                     25    the only psychiatrist who deals with children at

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                                             Deposition of Evenor Aleman
                                                  September 05, 2018
                                                          Page   197                                                           Page   199
    1   Shenandoah?                                                    1        Georgia who denied him based off of his aggressive
    2        A.   He  provides  services to  ORR  kids.                2        behavior.
    3        Q. Okay. Just ORR?                                        3             Q. And otherwise, it was based on what? I'm
    4        A. Correct.                                               4        sorry. If you said it, I was blanking out for a
    5        Q. Okay. But he has done so durinqthe entire              5        second.
    6   time that you've been there?                                   6             A. I know -- I guess the reasoning behind why
    7        A. Correct.                        .        o'
                                                                       7        he was denied from out-of-network placements was that
    8        Q. Okay. Does he do any therapeutic analysis              8        the facility would not accept him based off of his
    9   or treatment insofar as you know?                              9        history of aggressive behavior.
   10         A. No.                                                  10             Q. Oh, okay. So the Florida and Georgia
   11         Q. Okay. The second recommendation is              ..   11         facilities that you referenced were the out-of-network
                                                                  "
  12      placement.    "Edilber would benefit from' it highly        12         ones?
  13     structured residential treatment facility to address         13             A. Correct. Yeah.
  14     his emotional dysregulation, anger issues, aggression        14             Q. And what about other ORR facilities?
  15     and antisocial tendencies prior to release. into the         15             A. They refused for the same reasons.
  16     community or to a less restrictive placement." What,         16             Q. Okay. So what's your understanding with
  17     if anything, was done or -- to respond to that               17         regard to what happens to a kid under those
  18     recommendation by Dr. Rife?                                  18         circumstances, when they clearly need something
  19         A.   I know  from  our end, at least working   with      19         that -- well, I don't -- my only conclusions aren't
  20    the case managers, we would provide that information          20         relevant here -- where it appears that they need
  21    to ORR through our FFS for further qutdance. My             . L1         sometrunq mal your faCIlity can't provide, but the
  22     understanding was, we were -- I mean, we were hoping 22                 options for what the kid actually really needs are
  23    that he could maintain his behavior here and then             23         closed off? What do you do?
  24    become eligible to become transferred to an in-network        24             A. I mean, that's the difficult piece that --
  25    residential treatment center.                                 25        when working with this case -- when I say we, it was

                                                         Page    198                                                           Page   200
  1        Q. In-network meaning one that had --                            1   the ORR team in general, was that we were reaching
  2        A.   Within ORR care.                                            2   that wall where, obviously, the needs are there, we're
  3        Q. -- ORR relationship?                                          3   advocating for him to be -- come to a better place,
  4        A. Correct.                                                      4   but no place is willing to accept him. Obviously, we
  5        Q. Okay.                                                         5   can't force him onto anyone else, onto any other
  6           A. Unfortunately, that never occurred because                 6   situation, so it ends up that he -- he's stuck there
  7     of his continued behavioral issues. It wasn't until            '7       until at least some place attempts to accept him or is
  8     later that we highlighted that concern that, "Look,             8       willing to accept him. Unfortunately, that's a piece
  9     the possibility of him maintaining might be very                9       that is out of our hands. When I mean our, like the
 10       difficult. Let's try to do an out-of-network                 10        people working specifically with him.
 11       placement for him." And that's been documented in the        11             Q. Right.
 12       case manager notes in terms of the timeline of that.         12             A. It's much more of a higher-up type of
 13            Q. Okay. But never acted on, at least insofar           13        situation within ORR care.
 14      as you know, while he was' at Shenandoah?                     14             Q. Yeah. I guess it's really a question for
 15           A. My understanding, it was acted on, but he             15        ORR so I won't put it to you.
 16      was denied at various out-of-network placements.              16                So given the refusal, as you understood it,
,17          ,Q. Okay. And what's your -- what's the basis             17        of ORR "in-network" facilities meeting the description
 18      for your understanding in that regard?                        18        that Dr. Rife provided in here of a highly structured
 19           A. Why he was denied?                                    19        residential treatment facility and the fact that those
 20           Q. That he was denied as well as what the                20        out of network facilities that I guess ORR ultimately
 21      reasons were.                                                 21        either reached out to or permitted Shenandoah to reach
 22           A. I mean, confirmation at least from the case           22        out to all turned out to be not viable, what, if
 23      manager notes in terms of -- documents when the dates         23        anything, was done to try to sort of work around that
 24     when he was denied. The only ones that I could                 24        and otherwise implement the recommendations that
 25      remember were a couple of centers in Florida and in           25        Dr. Rife provided?


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                               ' s cheduling@hartreporting.com             (877)     3495
                                        JOHN DOE 4
                                                vs
         SHENANDOAH VALLEY JUVENILE CENTER




                                         Deposition of
                                       Elizabeth Ropp
                                   September 26, 2018




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(540)
  Case801-0288
        5:17-cv-00097-EKD-JCH Document 108(434) 296-3111
                                             Filed                             (151)227-4241
                                                   10/29/18 Page 46 of 50 Pageid#:   3496
                                        Deposition   of Elizabeth                 Ropp
                                              September 26, 2018
                                                      Page 97                                                         Page 99
   1   too, if I only put the date that the psychological         1   think what my understanding is I should have just
   2   evaluation was started but not the end date, it would      2   changed the current -- Exhibit 10 to reflect that
   3   mean that we hadn't received it yet. And I think for       3   Melissa and Evenor are the clinicians available, since
   4   Jonathan, we received it around the end of February.       4   they do alternate the group counseling portion. So we
   5    It was like February 20th or somewhere in there. So       5   like to list everybody who's responsible. And if one
   6   I'm guessing it was within that month. But those --        6   of them is out, the other would cover for individual
   7   like Theresa Davis and Tim Showalter were still            7   counseling.
   8   holding those responsibilities at that time.               8        Q      Okay. And is that why there are two as
   9          Q     Psychiatric services providedby Dr. Kane      9   well on Exhibit 9, both Mr. Mayles and --
  10     -- I think we've been told by prior witnesses that      10         A Yes.
  11     that is essentially a medication administration         11         Q       -- Mr. Aleman?
 12      function. Is that your understanding aswell?            12              Okay. What if any significance do the
 13           A     Yes, it is.       '       ..                 13    numbers in the lower left-hand corner have on Exhibit
 14            Q    Okay. Insofar as you know, Dr. Kane does     14     10?
 15      not provide any therapeutic services to the children?   15        A      These numbers here?
 16           A     Correct.                                     16         Q       Yes, ma'am.
 17                                                              17        A       I don't know.
 18     (Ropp Deposition Exhibit No.1 0 was marked for           18        Q        Okay.
 19      identification and attached to the transcript)          19        A      I'm sorry.
 20                                                              20        Q        Under mandatory services for assessment,
 21    BY MR. HOWARD:                                            21   the second item, it says, frequency one time, start
 22       ., Q    This is Exhibit 10, Ms. Ropp. Would you        22    date 12/1/2017, end date 12/6/2018, What does that
 23    take a look at that, please?                              23    mean?
 24             Is it fair to say that based on 'the             24        A      That's a mistake. It should say
 25    information reflected on Exhibit 10, which is             25    12/6/2017, because it's five days from the time of

                                                      Page 98                                                       Page 100
   1 different than Exhibit 9 in some particulars, that           1   their arrival that the UAC assessment is completed.
   2 this seems to be more recent than Exhibit 9?                 2   Actually, I'm sorry, I'm just seeing that all of those
   3      A     Yes.                                              3   are 2018, and they need to be 2017.
   4      Q     Okay. Including, among other things, per          4         Q     They should all be 2017, the end dates
   5 your prior reference, the fact that the end date for         5   for all of those?
   6 the psychological services Is refleoted on, this             6         A     Yes. As well as the legal orientation,
   7 document as 2/20/18?                                         7   that should be 12/17. This is also why -- ideally
   8      A     Yes. And the clinician's name has                 8   this would be corrected at the time of -- at the time
   9 changed as well. So Evenor is reflected on this one;         9   that it's completed, but we do -- when we close files,
. 10 which would be -- it would be after May at some point       10     we always have a case manager review our files. So I
  11 after Andrew left SVJC.                                     11     review the case manager's files to make sure these
  12      Q      Okay. Where are you looking for that            12     dates correspond, and then all the files are reviewed
  13 information?                                                13     by Kelsey Wong as well, So we can go back into the
  14      A     At the top here, case manager, Elizabeth,        14     portal to make sure that things like this are
  15 and then clinician --                                       15    corrected.
  16      Q     Oh, okay.                                        16         Q      I nsofar as you know then, there isn't any
  17      A     And the other one says Andrew.                   17    significance to the fact that on Exhibit 9 those dates
  18      Q     Thank you very much.                             18    all seem to be correct, at least in accordance with
  19           On both of the exhibits -- I should have          19    what you just testified, but on Exhibit 10, they've
  20 noted this in connection With Exhibit 9 -- but there's      20    been changed from 2017 to 2018?
  21 Ms. Cook, Mr. Mayles, and Mr. Aleman are all                21         A     They have to be manually entered every
  22 identified in connection with individual counseling         22    time, and so I think it was just an, accident,
  23 and group counseling. What is the significance of the       23    confusion.
  24 fact that there are two clinicians listed, if any?          24         Q     Okay. As far as you know, would Exhibit
  25      A     Sorry. I'm confused by the question. I           25    10 reflect the currently applicable or currently

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                                         Deposition of
                                      Philip A. Mayles
                                      October 04, 2018




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                                      Deposition    of Philip A.               Mayles
                                               October  04,  2018
                                                    Page 129                                                       Page 131
 1 has ever made that request for mental health                  1       Q.       To your knowledge, is there a secure
 2 professionals outside of SVJC, whether that's --              2   residential treatment facility that is in ORR's
 3      A.   Not specifically, but I think there have            3   network?
 4 been occasions where kids might say, I want to go back        4         A. Not that I'm aware of.
 5 to where I was, to Children's Village or to -- what's         5         Q.     So if a child needs to be sent to a
 6 the name of it? It's a residential program. The name          6   residential treatment center and a secure option is
 7 in New York is blanking, but one is called Shiloh in          7   not available, what options remain?
 8 . Texas. So they may be like, I want to go back there.        8         A.    I think that's a conundrum that's
 9 That's why I guess I'm asking for clarity, but no one         9   problematic.
10 has asked me like, I want to go see someone, a               10         Q.      And you've mentioned that until they're
11 psychiatrist or a psychologist or a therapist.               11    able -to leave SV JC, services continue to be provided
12      Q.    So none of the children you've ever               12    to try to treat that child's needs?
13 worked with has asked to meet again with a                   13         A. Yes.
14 psychologist?                                                14         Q.     What are some of those services for
15      A.    Nothing comes to mind.                            15    children that have already been evaluated as requiring
16      Q.    Now, after a child is evaluated by the            16    a residential treatment facility?
17 Valley Community Service Board and there is an               17         A.     We do what we can. We do our best and
18 indicated need for hospitalization, it's my                  18   try to advocate for the child as best we can.
19 understanding that they're sent to the Commonwealth          19         Q.     Now, earlier you mentioned Dr. Kane, a
20 Center for Children and Adolescence; is that correct?        20    psychiatrist?
21      A.   Yes, usually.                                      21         A.     Correct.
22      Q.    When a child is discharged from CCCA, is          22         Q.     What is he responsible for at SVJC
23 there recommendations or evaluations that are provided       23   vis-a-vis the children that are there?
24 to SVJC from their time at CCCA?              '              24         A. When he receives a referral, he then
25      A.   I think they do provide some                       25   comes and does an initial evaluation of the child and

                                                    Page 130                                                       Page 132
  1   documentation. A discharge summary is provided.            1   tries to find out what the symptoms are and what the
  2         Q.     Do you read those.documentsv                  2   minor's presentation and report is, and then tries to
  3        A.     I have read them, yes.                         3   figure out what might be helpful. I guess that
  4        Q,      If a child that you're assigned to is         4   case -- I can't really speak to what goes into the
  5   sent to CCCA and comes back, is it your general            5   psychiatric part of it, but obviously that's what the
  6   practice to review whatever documents include              6   psychiatrist is there for. And they might start or
  7   recommendations or diagnoses or analysis of their time     7   propose medication, or may not.
  8   there?                                                     8          Q,   Is Dr. Kane responsible for providing
  9        A.     For the most part, yes.                        9   therapeutic services to the children?
 10         Q.      And what happens after you review that      10          A.   What do you mean by therapeutic services?
 11    document? What do you do with it?                        11          Q.     Is Dr. Kane's role at SVJC limited to
12          A.      Usually it's part and parcel. I think at    12    medication management?
13     the time that a child is sent to CCCA, we're trying to   13          A.    I would say it's medication management.
14     work with our counterparts in the government to try to   14          Q.     He doesn't provide counseling?
15     figure out what is going to be the follow-up for this    15          A.   No, not that I'm aware.
16     child that's obviously been in crisis, and may need      16             MR. BOTKINS: Object to the form.
17     some different care, And so at that point we're          17     BY MS. YANG:
18     trying to find another placement, and seeing if that's   18          Q.    Do you ever discuss particular children
19     available,                                               19    with Dr. Kane?
20          Q,     To your knowledge, is there -- I'm           20          A.   Kids that I've referred to him?
21    forgetting the phrasing. SVJC is now a fully secure,      21          Q.    (No verbal response).
22    staff secure?                                             22          A.   Of course. I mean, I provide him with a
23         A.     It's secure,                                  23    referral.
24          Q.     Secure?                                      24        . Q.   Similar to the psychologist and a
25         A.     Yeah,                                         25    clinical addendum of some kind?

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           I hereby certify that on this 29th day of October, 2018, true and correct copies of

    Plaintiffs' Memorandum of Law in Support of Plaintiffs' Motion to Compel Discovery and for

    Modification of the Amended Scheduling Order and supporting Exhibits were served via

   electronic mail upon the following:

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